      Case 2:11-cv-00084 Document 837 Filed on 03/18/20 in TXSD Page 1 of 3
                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                            March 18, 2020
                            UNITED STATES DISTRICT COURT
                                                                                          David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

M.D.; bnf STUKENBERG, et al,                       §
                                                   §
           Plaintiffs,                             §
VS.                                                §   CIVIL ACTION NO. 2:11-CV-84
                                                   §
GREG ABBOTT, et al,                                §
                                                   §
           Defendants.                             §

                                              ORDER

       For all the reasons outlined so carefully in the Monitors’ filing of March 3, 2020, (D.E.

832), the Court adopts the following definitions applicable to remedial order 20 referenced in the

Court’s Final Order entered on January 19, 2018, (D.E. 559), and the Court’s Order entered on

November 20, 2018, (D.E. 606):

Pattern:

A pattern is defined as a high rate of contract and standards violations for at least three of the last
five years.

Steps in identifying the pattern:

   1. Each agency shall review data for the rate of contract and standards violations, including
      confirmed findings of abuse and neglect, for the last five years. The rate is calculated
      using the number of violations divided by the operation's capacity multiplied by 10
      (Number of contract or standards violations/capacity X 10).
   2. For each of the last five years, compare the operation’s rate of violations to the combined
      rate of violations for all operations of similar size (small, medium, or large) and service
      type (basic general residential operation, residential treatment center, child placing
      agency, and independent foster family and group homes).
   3. If the operation’s rate of violations rated medium, medium-high, or high is above the
      combined rate of violations rated medium, medium-high, or high for operations of similar
      size and service type for three of the last five years, then there is a pattern of violations.
   4. Each agency shall inform the other of all operations identified as having a pattern of
      deficiencies.




1/3
       Case 2:11-cv-00084 Document 837 Filed on 03/18/20 in TXSD Page 2 of 3




Operation Size:

Small operations:  Those with a capacity of 20 or fewer children or, for CPAs, 20 or fewer
                   open foster homes;
Medium operations: Those with a capacity of 21-50 children or 21- 50 open foster homes; and
Large operations:  Those with a capacity of more than 50 children or more than 50 open
                   foster homes.

Operation Service Type:

Basic General Residential Operation
General Residential Operation – Residential Treatment Center
Child Placing Agency
Independent Foster Family and Group Homes

Heightened Monitoring

When an operation is identified for heightened monitoring, a Facility Intervention Team Staffing
(FITS) is scheduled within 5 days. The intervention team is made up of staff from, at least,
RCCL, DFPS CCI, DFPS Contracts, and CPS.

During the FITS, the team will review:

       Any trends for the operation identified as a result of the 5-year retrospective analysis.
       Any monitoring plans or corrective or enforcement actions for the operation in the last 5
        years;
       Any risk analyses conducted by RCCL or DFPS for the operation in the last 5 years.

If the review reveals events that implicate an ongoing concern for the health and safety of
children, the intervention team will develop a safety plan and temporarily suspend placements
until all concerns for children’s health and safety have been addressed. This must be
documented in CLASS.

The FITS team is responsible for developing a heightened monitoring plan that:

       Outlines a coordinated response from RCCL & DFPS, including a list of staff from both
        agencies who will serve on the heightened monitoring team for the operation;
       Describes a detailed and specific plan addressing:
           o The pattern of policy violations that led to heightened monitoring;
           o Any barriers to compliance identified during a review of previous corrective or
               enforcement actions or risk analyses;
           o Any technical assistance needed by the operation from FPS, RCCL, or a third
               party;
           o The steps the operation must take to satisfy the plan.



2/3
       Case 2:11-cv-00084 Document 837 Filed on 03/18/20 in TXSD Page 3 of 3



While an operation is on heightened monitoring, RCCL and DFPS will share responsibility for at
least weekly unannounced visits to the operation, and any placements of PMC children must be
directly approved by the Associate Commissioner of CPS.

The heightened monitoring plan will remain in place for at least one year and until:
    the operation satisfies the conditions of the plan;
    at least six months’ successive unannounced visits indicate the operation is in compliance
       with the standards and contract requirements that led to heightened monitoring; and
    the operation is not out of compliance on any medium-high or high weighted licensing
       standards.

After the operation is released from the plan, DFPS and RCCL will coordinate to make at least
three unannounced visits in the three months following the release from the plan, and the
heightened monitoring team will continue to track intake data for the operation for six months to
ensure it does not lose progress made during monitoring.

If the operation does not come into compliance with the plan during the heightened monitoring
period, DFPS and RCCL will identify one or more of the following penalties:

       suspension of placements;
       imposition of fines;
       suspension or revocation of the facility or CPA’s license;
       termination of the contract.

The heightened monitoring plan, unannounced visits associated with the plan, and progress
toward meeting the plan must all be documented in CLASS. Caseworkers for PMC children in
operations under heightened monitoring must be made aware of the monitoring.

        SIGNED and ORDERED this 18th day of March, 2020.


                                                 ___________________________________
                                                           Janis Graham Jack
                                                    Senior United States District Judge




3/3
